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                                           Exhibit A

                                        Proposed Order




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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

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Counsel to the Plan Administrator

In re:                                                            Chapter 11

BED BATH & BEYOND INC., et al.,1                                  Case No. 23-13359 (VFP)

                                  Debtors.                        (Jointly Administered)

                      ORDER SUSTAINING PLAN ADMINISTRATOR’S
             FIFTEENTH OMNIBUS OBJECTION (SUBSTANTIVE) TO CLAIMS
              (Reclassify Bondholder Claims to Class 6 General Unsecured Claims)


          The relief set forth on the following pages, numbered two (2) through four (4), is

ORDERED.




1
 The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby.



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Debtors:                     BED BATH & BEYOND INC., et al.
Case No.                     23-13359-VFP
Caption of Order:            ORDER SUSTAINING PLAN ADMINISTRATOR’S FIFTEENTH
                             OMNIBUS OBJECTION (SUBSTANTIVE) TO CLAIMS (Reclassify
                             Bondholder Claims to Class 6 General Unsecured Claims)


          Upon the objection (the “Objection”)2 of the Plan Administrator, pursuant to sections

105 and 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and Local Rules 3007-1, 3007-2,

and 9013-1, seeking entry of an order (this “Order”) reclassifying the claims identified on the

attached Exhibit 1 (the “Reclassified Claims” or “Disputed Claims”); and upon consideration

of the record of these chapter 11 cases and the Declaration of Michael Goldberg; and the

Court having jurisdiction to consider the Objection and the relief requested therein pursuant

to 28 U.S.C. §§ 157 and 1334; and venue being proper before this Court; consideration of

the Objection and the relief requested being a core proceeding pursuant to 28 U.S.C. §

157(b); due and proper notice of the Objection having been provided, and it appearing that no

other or further notice need be provided; and the Court having found and determined that the

relief sought in the Objection is in the best interests of the Debtors’ estates, their creditors

and all parties in interest, and that the legal and factual bases set forth in the Objection establish

just cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor, it is hereby

            IT IS HEREBY ORDERED THAT:

            1.      The Objection is sustained.

            2.      The Disputed Claims set forth on the attached Exhibit 1 are hereby reclassified

  as Class 6 General Unsecured Claims.

            3.      The Claims and Noticing Agent is authorized to modify the Claims Register to

  reflect the relief granted by this Order.

2 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Objection.



                                                         2
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Debtors:                     BED BATH & BEYOND INC., et al.
Case No.                     23-13359-VFP
Caption of Order:            ORDER SUSTAINING PLAN ADMINISTRATOR’S FIFTEENTH
                             OMNIBUS OBJECTION (SUBSTANTIVE) TO CLAIMS (Reclassify
                             Bondholder Claims to Class 6 General Unsecured Claims)


            4.      Nothing in this Order shall affect any party’s rights with respect to the Disputed

  Claims as reclassified, and all parties’ rights with respect to such claims are reserved,

  including, for the avoidance of doubt, the Plan Administrator’s or any estate representative’s

  rights to object in the future to any Disputed Claim on any grounds permitted by bankruptcy or

  nonbankruptcy law.

            5.      Nothing in this Order shall be deemed (i) an admission as to the validity of any

  claim or as an allowance of any claim; (ii) a waiver of the Debtors’ or Plan Administrator’s

  rights to dispute any claim, including the claims set forth on Exhibit 1 hereto, on any grounds,

  including, but not limited to, pursuant to section 502(d) of the Bankruptcy Code; (iii) a promise

  or requirement to pay any claim; (iv) an implication or admission that any claim is of a type

  referenced or defined in this Objection; (v) a waiver or limitation of any of the Debtors’ or Plan

  Administrator’s rights under the Plan, the Bankruptcy Code, or applicable law; or (vi) a waiver

  of any other substantive objection to the Disputed Claims.

            6.      Each Disputed Claim and the objections by the Plan Administrator thereto, as set

  forth on Exhibit 1 hereto, constitutes a separate contested matter as contemplated by

  Bankruptcy Rule 9014 and Local Rule 3007. This Order shall be deemed a separate Order with

  respect to each such Disputed Claim. Any stay of this Order pending appeal by any Claimant

  whose claim is subject to this Order shall only apply to the contested matter which involves

  such claimant and shall not act to stay the applicability and/or finality of this Order with respect

  to the other contested matters listed in the Objection or this Order.




                                                    3
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Debtors:                     BED BATH & BEYOND INC., et al.
Case No.                     23-13359-VFP
Caption of Order:            ORDER SUSTAINING PLAN ADMINISTRATOR’S FIFTEENTH
                             OMNIBUS OBJECTION (SUBSTANTIVE) TO CLAIMS (Reclassify
                             Bondholder Claims to Class 6 General Unsecured Claims)


            7.      Notwithstanding any applicable provisions of the Bankruptcy Code, the

  Bankruptcy Rules, or the Local Rules, this Order shall be effective immediately upon its entry.

            8.      The Court shall retain jurisdiction to construe and enforce this Order.




                                                     4
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                                      Exhibit 1 to Exhibit A

                                     List of Disputed Claims




                                                1
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                                                            Exhibit 1 to Order Sustaining Plan Administrator's Fifteenth Omnibus Objection (Reclassified Bondholder Claims)



                                                                                                                        Asserted Claim Amount                     Reclassified Claim Amount
#    Name of Claimant                 Date Claim Filed   Claim Number                Debtor Name               Claim Nature Claim Amount                   Claim Nature Claim Amount          Reason for Reclassification
1    Alan Powitz Trust                  5/19/2023             1814               Bed Bath & Beyond Inc.             Secured $4,000.00                           Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $0.00                                   GUC $4,000.00
                                                                                                                       Total $4,000.00                             Total $4,000.00
2    Anderson, Lorrie R                  7/5/2023           9379                 Bed Bath & Beyond Inc.             Secured $35,000.00                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $0.00                                   GUC $35,000.00
                                                                                                                       Total $35,000.00                            Total $35,000.00
3    Avrashow, Wayne                     5/1/2023             76                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $28,000.00                         Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $0.00                                   GUC $28,000.00
                                                                                                                       Total $28,000.00                            Total $28,000.00
4    Book, Alice Marie                  7/10/2023           13361                Bed Bath & Beyond Inc.             Secured $46,152.50                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $3,847.50                               GUC $50,000.00
                                                                                                                       Total $50,000.00                            Total $50,000.00
5    BOOK, ALICE MARIE                   7/7/2023           13646                Bed Bath & Beyond Inc.             Secured $46,152.50                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $3,847.50                               GUC $50,000.00
                                                                                                                       Total $50,000.00                            Total $50,000.00
6    Calm Spirit Investing Inc Solo      5/1/2023            140                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
     401(k)                                                                                                           Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $5,058.80                          Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $0.00                                   GUC $5,058.80
                                                                                                                       Total $5,058.80                             Total $5,058.80
7    Chehade, Monif k                    6/6/2023           3669                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $3,000.00                          Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $0.00                                   GUC $3,000.00
                                                                                                                       Total $3,000.00                             Total $3,000.00
8    Chilumula, Aditi                   6/15/2023           4370                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $15,000.00                         Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $0.00                                   GUC $15,000.00
                                                                                                                       Total $15,000.00                            Total $15,000.00
9    Chilumula, Anika                   6/15/2023           4843                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $15,000.00                         Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $0.00                                   GUC $15,000.00
                                                                                                                       Total $15,000.00                            Total $15,000.00
10   Daffer, Kevin L                    9/12/2023           17176                Bed Bath & Beyond Inc.             Secured $73,597.00                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                   503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                     Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                        GUC $0.00                                   GUC $73,597.00
                                                                                                                       Total $73,597.00                            Total $73,597.00
11   Dobson, Brad                       5/30/2023           3057                 Bed Bath & Beyond Inc.             Secured $5,000.00                           Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                      Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
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                                                         Exhibit 1 to Order Sustaining Plan Administrator's Fifteenth Omnibus Objection (Reclassified Bondholder Claims)



                                                                                                                     Asserted Claim Amount                     Reclassified Claim Amount
#    Name of Claimant              Date Claim Filed   Claim Number                Debtor Name               Claim Nature Claim Amount                   Claim Nature Claim Amount          Reason for Reclassification
                                                                                                                503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $0.00                                   GUC $5,000.00
                                                                                                                    Total $5,000.00                             Total $5,000.00
12   DuBrul, Jack B                   7/5/2023           13023                Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $11,942.15                            Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $0.00                                   GUC $11,942.15
                                                                                                                    Total $11,942.15                            Total $11,942.15
13   GIBSON, RONALD GENE              7/5/2023           13409                Bed Bath & Beyond Inc.             Secured $36,710.80                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $3,289.20                               GUC $40,000.00
                                                                                                                    Total $40,000.00                            Total $40,000.00
14   Johnsson, Denise Karin          6/21/2023           18809                Bed Bath & Beyond Inc.             Secured $20,000.00                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $20,000.00                        503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $0.00                                   GUC $40,000.00
                                                                                                                    Total $40,000.00                            Total $40,000.00
15   Keeler, Jennifer Ann            6/28/2023           7677                 Bed Bath & Beyond Inc.             Secured $25,000.00                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $1,883.69                               GUC $26,883.69
                                                                                                                    Total $26,883.69                            Total $26,883.69
16   LeBlanc, John M.                 7/3/2023           12843                Bed Bath & Beyond Inc.             Secured $22,882.50                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $0.00                                   GUC $22,882.50
                                                                                                                    Total $22,882.50                            Total $22,882.50
17   Merola, Sylvia                  5/19/2023           1749                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $73,440.80                         Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $0.00                                   GUC $73,440.80
                                                                                                                    Total $73,440.80                            Total $73,440.80
18   Mettu, Archana                  6/14/2023           4382                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $473,000.00                        Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $0.00                                   GUC $473,000.00
                                                                                                                    Total $473,000.00                           Total $473,000.00
19   Moncino, Daniel Joseph           6/7/2023           3721                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $25,000.00                        503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $0.00                                   GUC $25,000.00
                                                                                                                    Total $25,000.00                            Total $25,000.00
20   Moncino, Daniel Joseph          8/14/2023           16213                Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                503(b)(9) $20,000.00                        503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                  Priority Unliquidated                       Priority $0.00               Unsecured Claim.
                                                                                                                     GUC $0.00                                   GUC $20,000.00
                                                                                                                    Total $20,000.00                            Total $20,000.00
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                                                                                              BED BATH BEYOND INC., Case No. 23-13359 (VFP)
                                                                                                                                                                                                 Desc
                                                                              Exhibit A Page 9 of 10
                                                              Exhibit 1 to Order Sustaining Plan Administrator's Fifteenth Omnibus Objection (Reclassified Bondholder Claims)



                                                                                                                          Asserted Claim Amount                     Reclassified Claim Amount
#    Name of Claimant                   Date Claim Filed   Claim Number                Debtor Name               Claim Nature Claim Amount                   Claim Nature Claim Amount          Reason for Reclassification
21   Mount, Linda L                       6/14/2023             4254               Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                        Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $30,495.00                         Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $30,495.00
                                                                                                                         Total $30,495.00                            Total $30,495.00
22   R Gregory Sandra L. Heslop           6/26/2023           11496                Bed Bath & Beyond Inc.             Secured $30,000.00                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                        Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $30,000.00
                                                                                                                         Total $30,000.00                            Total $30,000.00
23   Robert H Frey jr. & Charlotte        5/28/2023           2877                 Bed Bath & Beyond Inc.             Secured $7,000.00                           Secured $0.00                 Claim is not entitled to administrative, priority or
     Frey TTEES the Frey Family Trust                                                                                   Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $7,000.00
                                                                                                                         Total $7,000.00                             Total $7,000.00
24   Shelton, Robert                      6/20/2023           12870                Bed Bath & Beyond Inc.             Secured $25,000.00                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                        Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $25,000.00
                                                                                                                         Total $25,000.00                            Total $25,000.00
25   Shelton, Shirley                     6/20/2023           9332                 Bed Bath & Beyond Inc.             Secured $25,000.00                          Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                        Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $25,000.00
                                                                                                                         Total $25,000.00                            Total $25,000.00
26   Sims, Ronald Frank                   6/12/2023           5367                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                        Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $5,000.00                          Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $5,000.00
                                                                                                                         Total $5,000.00                             Total $5,000.00
27   Steik Jr, Gerald Raymond             9/30/2023           17289                  Buy Buy Baby, Inc.               Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                        Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $5,000.00                         503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $5,000.00
                                                                                                                         Total $5,000.00                             Total $5,000.00
28   Steinmetz, Keith                     5/30/2023           3002                 Bed Bath & Beyond Inc.             Secured $5,000.00                           Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                        Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $0.00                              Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $5,000.00
                                                                                                                         Total $5,000.00                             Total $5,000.00
29   Storozum, Pamela                     12/16/2024          20481                Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                        Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                     503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                       Priority $10,000.00                         Priority $0.00               Unsecured Claim.
                                                                                                                          GUC $0.00                                   GUC $10,000.00
                                                                                                                         Total $10,000.00                            Total $10,000.00
                           Case 23-13359-VFP                          Doc 3944-1 Filed 03/13/25 Entered 03/13/25 12:40:20
                                                                                             BED BATH BEYOND INC., Case No. 23-13359 (VFP)
                                                                                                                                                                                                Desc
                                                                             Exhibit A Page 10 of 10
                                                             Exhibit 1 to Order Sustaining Plan Administrator's Fifteenth Omnibus Objection (Reclassified Bondholder Claims)



                                                                                                                         Asserted Claim Amount                     Reclassified Claim Amount
#    Name of Claimant                  Date Claim Filed   Claim Number                Debtor Name               Claim Nature Claim Amount                   Claim Nature Claim Amount          Reason for Reclassification
30   Stratton, Yvonne E                  6/23/2023             9376               Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                       Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                    503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                      Priority $2,000.00                          Priority $0.00               Unsecured Claim.
                                                                                                                         GUC $0.00                                   GUC $2,000.00
                                                                                                                        Total $2,000.00                             Total $2,000.00
31   Stratton, Yvonne E                  6/23/2023           11511                Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                       Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                    503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                      Priority $2,000.00                          Priority $0.00               Unsecured Claim.
                                                                                                                         GUC $0.00                                   GUC $2,000.00
                                                                                                                        Total $2,000.00                             Total $2,000.00
32   Sun, Qiuxia                         8/15/2023           16279                Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                       Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                    503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                      Priority $13,350.00                         Priority $0.00               Unsecured Claim.
                                                                                                                         GUC $0.00                                   GUC $13,350.00
                                                                                                                        Total $13,350.00                            Total $13,350.00
33   Thomas, Norval Wade                  7/5/2023           13697                Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                       Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                    503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                      Priority $10,000.00                         Priority $0.00               Unsecured Claim.
                                                                                                                         GUC $0.00                                   GUC $10,000.00
                                                                                                                        Total $10,000.00                            Total $10,000.00
34   Thomas, Tonna L.                     7/5/2023           13456                Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
                                                                                                                       Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                    503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                      Priority $9,000.00                          Priority $0.00               Unsecured Claim.
                                                                                                                         GUC $0.00                                   GUC $9,000.00
                                                                                                                        Total $9,000.00                             Total $9,000.00
35   William R. Russell Contributory     6/29/2023           12716                Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
     IRA, Charles Schwab                                                                                               Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                    503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                      Priority $25,000.00                         Priority $0.00               Unsecured Claim.
                                                                                                                         GUC $0.00                                   GUC $25,000.00
                                                                                                                        Total $25,000.00                            Total $25,000.00
36   ZIMMERMANN-GEISMAR, KATHY           6/19/2023           9018                 Bed Bath & Beyond Inc.             Secured $0.00                               Secured $0.00                 Claim is not entitled to administrative, priority or
     ANN                                                                                                               Admin $0.00                                 Admin $0.00                 secured status. The Plan Administrator asks the
                                                                                                                    503(b)(9) $0.00                             503(b)(9) $0.00                Court to reclassify the claim as a Class 6 General
                                                                                                                      Priority $24,580.52                         Priority $0.00               Unsecured Claim.
                                                                                                                         GUC $0.00                                   GUC $24,580.52
                                                                                                                        Total $24,580.52                            Total $24,580.52
